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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAIʻI

                                           )
 NATIONAL ASSOCIATION FOR GUN              )   Civil No. 22-cv-00404-DKW-RT
 RIGHTS                                    )
                                           )
 and                                       )
                                           )   RESPONSE IN OPPOSITION TO
 RONDELLE AYAU                             )   MOTION TO DISMISS
                                           )
 and                                       )
                                           )
 JEFFREY BRYANT                            )
                                           )


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        Plaintiffs,                                 )
 vs.                                                )
                                                    )
 HOLLY SHIKADA, in her official capacity as         )
 Attorney General for the State of Hawaiʻi          )
                                                    )
        Defendant.                                  )


        Plaintiffs submit the following response in opposition to Defendant’s motion to dismiss

 [Doc 18].

        Plaintiffs have filed their First Amended Complaint as of right pursuant to

 Fed.R.Civ.P. 15(a)(1)(B). Accordingly, Defendant’s motion to dismiss Plaintiffs’ original

 complaint is moot, and Plaintiffs request the Court to deny the motion on that ground. Plaintiffs

 also request the Court to vacate the December 16, 2022 hearing on Defendant’s motion to

 dismiss.

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 8, 2022, a copy of foregoing was filed electronically.
 Notice of this filing will be sent by e-mail to all appearing parties by operation of the Court’s
 electronic filing. Parties may access this filing through the Court’s system.

 /s/ Barry K. Arrington
 Barry K. Arrington




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